   To whom i
           tm ay concern,                                                   7/30/2018


          M y name is Johnny Hayes and Ihave been the Production Supervisoroverthe
   W elding DepartmentatUnarco lndustries,LLC forover11 years now .Overthe last2.5
   years,MontezAllen worked undermy supervision as a M ig W elder. Montez is a productive
   partofmyteam and Icould always depend on him to be here on tim e and perform m ultiple
   tasks.Hewasal
               waysontimeand performed mul
                                         tiplejobtasksdaily.He isateam player
   who gotalong greatwith his peersand any Ieadership above him .
   Please don'thesitate to contactme wi
                                      th any questions orconcernsyou m ay have
   regarding M r.Allen.You can reach m e atthe num berbelow.




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   Sincerely,


   John y Hayes
   Welding Supervisor
   (434)228-3930
   Unarco Industries,LLC
   Danville,UA 24540




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     A ugust29,2019


     To W hom ltM ay Concem :

     Ihavebeen asked to sel'veasareferenceforM olgez Allen.
     1havekrlown M ontez foral1ofllislifeand havefotmd him to be avery caring yotmg
     m an.W hen hewasastudentatGeorge W ashington High School,hewasveryrespected
     by hispeers.Hem adequiteaname forhimselfin the ROTC program whereheheldone
     ofthe M ghestoffices.

     M ontez com esfrom awell-disciplined household.He and hism other,alongwith another
     brotherand sisterarem em bersoftheUnited HolinessW orship Centerin Pelham ,N orth
     Carolina.

     Onapersonallevel,V ontezisawelldisciplinedandindustriousyoungmanwitha
     pleasantpersonality.Hehasdemonstrated greatperseveranceand initiative.He isnot
     only interested in and m otivated to lenrning new things,butputsgreatw ork into
     assim ilating itto llisown experience and developing llisown ideas.

     lflcanbeofanyfurtherassistance,orprovideyou with any furtherinformation,plemse
     do nothesitateto contactm e.

     Sincerely,



     Fraun Niblett,Departm entChair
     Business and Inform ation Technology
     GeorgeW asllington High School




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                                                                    ' Pageid#: 549
                                                                              ,        /œ .z-
     August29,2018



     Yo< Honor'
              .

     Iam writing thisletterin referenceto oneofmy form erstudents,M ontezAllen.Ifirst
     metM ontez iù 2014,when hewasastudenthereatGeorge W œshington High Schooland
     IwashisEnglish teacherin Britiqh Literature.Thiswmsdnring the fustsemesterofbis
     senioryear. OyerthetimethatIinteractedw1111him ,lfound M onteztobeahighly
     motivatedyoungm an with r eatpotential.

     Throughouthishigh schoolyearsM ontezwasan activeniemberoftheNJROTC atG W .
     fleobtginedleadershiprankinthisproyam andparticipatedinmanyschoolactivities
     andeventsasapartofhisresponsibilitles.M ontez wmsagood sm dent,m aintnining aKB''
     averagein English.Heactively engaged in clmssdiscussions,submittedhisschoolwork
     on time,and attended classregulady.Hisbehaviorin m y classroom wasexemplary.

     lrem emberM ontezasbeing acourteousand friendly yotmgm an who showed respectfor
     histeachers,sGfllfellow smdents,aswellashimself.Isincerelyhopethatyouwilltake
     thisinto consideraion.



     Shxcerely,

                              *




     Pam elaM .Jones
     (434)709-8166




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   August27,2018



   YourHonor:

   Ihave battled w ith w hatto say in this Ietterforseveraldays.W riting this Ietterisno easy task
   form e.Iam a 42 yearveteran in the teaching profession.Iam saddened by the num berofour
   youth taking the w rong path in Iife.

   Ihave had the pleasure ofknow ing a kind and respectfulyoung m an by the nam e ofM ontez
   Allen.Iw atched him grow and becom e a w ell-respected Officerin ourROTC Program .I
   watched him forfouryearswearhisuniform with pride and respect.As,a rankingofficerone
   could tellthisyoung m an w ould accom plish greatthingsin yearsto com e. Iw ould see him in
   the hallsofourschoolwelldressed in hisuniform and sm ile referringto him as''General''.I
   know he hasthe potentialto be m ore than the trouble he is in today.

   Ican tellyou that Icried tears ofdisappointm entw hen Ifound out he w asin trouble.This
   young m an is ''Som ebody ''. Iobserved itfor4 years.

   If Im ay assist in any w ay please feelfree to contact m e at 336-681-6768.Thankyou foryour
   tim e.



   Sincerely,


                    '
      .         .
   Et è A Collins

   George W ashington High School




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      To W hom ltM ay Concern

                     IKatrice Terry isw riting thisletteron the behalfofM ontezAllen.Ihave
      know n M ontez his entire life.M ontez has alw aysbeen a good kid grow ing up.He w as
      raised by his m om to be a very respectfulyoung m an saying yessir& yes m aam in
      conversation w ith adults.Iattend United HolinessW orship CenterChurch w here Ican
      recallM ontez grow ing up singing in ouryouth choirevery Sunday.W hen m y fam ily
      m oved into ournew hom e M ontezwasoneofthe firstteenagersto offirhishelp.
      That'sjustthekindofyoungman hewasraisedtobe,alwaysthefirstto offerahelping
      handwhen needed.Ithasm ade my hearthappytow atch him grow into such a
      w onderfulyoung m an and now father.



                                                 Katrice Terry




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    August28,2018


    ToW hom ItMay Concern
    M yname isKaren Baise,Iam an RN and DiredorofNursing foraskilled nursingfacilityin DanvilleVa.
    Ihave hadthe pleasure ofknowing MontezAllenfora Iittleover13years. lam afriend andco-worker
    ofhismom,SherryAllen.
    M ontezhasalwayscame acrossasapersonofgood moralcharacter.Heisatrustworthy, decentand
    reliableyoung man. 1havewitnessed hisIove forhisfamilyand dedicationto be a hardworking citizen
    overthe pastfew yearsafterhe graduated highschool.Hehasabrand new baby boyand Iknow that
    he isanxiousto be ableto spendtimewith him'.

    Ido notfeelinanywaythatMontezwouldposeathreatand/ordangertoanyone,hehasalwaysshown
    himselfto be a courteousindividual. Ifeelthatgiventhe opportunity he willcontinueto bea successful
    young m an.


    Sincerely


    %

    Karen Baise            %9A-n ho -c> bR




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   August29,2018


   To whom thism ay concern,
          lhaveknown MontezAllenforaioutfouryearsnow.Ihavegrowncloseto Montez'smother
   SherryAllen,soInow considerMontezasmynephew.W henIfirstmetùontezorTezasIcallhim he
   wasverym annerable ahd respectable,and to thisday stillis.W hen lfirstm etTezhe wasstillin high
   school,he wasin NJROTC and very active withinthe program and very active in church asw ell.M öntez
   isahardworking,dependableyoung mananddon'tminddoingforothers.Healsodidhisjobverywell
   and wasallwason time pera fellow cow orker,which happensto be my brother,which wasM ontez'd
   ShiftIeader.lcan furtherstate thatM ontezhasbeen dedicated to workand hisfamily.He isa Ioveable
   Persontowardshisclosefrienàsaswell.
           In writing thisIetterIhope thatitwillhelpto m ake a positivedecision when considering
   M ontez'srelease.Ialso do notsee him to be athreatto thecom m uni   ty.


   YoursSincerely,
           <    .




   Tynisha Cobbs
   434-688-8845




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                             Saber Healthcare G roup ...onthecuttingedgeofheal
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  Nab er
HEM THCARE
                                          26691 Richm ond Rd.@ Bedford HeightsgO H 44146
     G RO UP                                Phone:(216)292-5706 @Fax:(216)292-1443




    August 28,2018


    To: To W hom lt May Concern

               Vahessa D Jam es, Business Office Man'ager

    Re: CharacterLetterfor(MONTEZ L.ALLEN)

    I would Iike to say that Montez Allen is a very intelligentyoung m an. l have had the
    opportunity to see him on a regularbasis visiting the facility here at Stratford Rehabilitation
    Center. Montez alw ays polite and so respectfuland alw ays greeted m e w ith a sm ile. I've
    had the ,opportunity to see Montez interact w ith his fam ily,they are so close and God
    Fearing people that show each other Love and respect.

    Please acceptthis Ietterfrom m y heart, Ietting you know that l believe thatthis young m an
    is ofgood characterand have respectfor aIIhe com e in contactw ith. May God continue to
    Bless and keep him in his care.



    Res ectfully Su       ' ed,

       nessa D.Jam es




                                                                                             Page 1 of 1
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  A ugust29,2018


  Y our H onor,


  M y nam eisShannon Pulley. 1am A Registered Nurse atStratford Rehab Center
  inDanville,Virginia.Sherry(Montez'smother)and1arefriendsandwework
  together. 1am aw are ofthe charges againstM ontez A llen.
  lhave know n M ontez for about4 years. M ontez alw ays hasa sm ile on his face.
  H e is a polite young m an thatisrespectfulto others.M ontez hasbeen very w ell
  m annered around m e.He isa good son to my friend.
  Fam ily hasbeen an importantpartofhislife. He and hisbrotherwere alm ost
  inseparablè.They did everything together. He also m ade sure thathe spentquality
  tim ew ith hissister. W hen he found outthathew asgoing to be afather,he began
  preparing rightaw ay. He wasso excited.Iknow hewantsto be an involved father
  w ith little Leven.


  Sincerely,


  1 - om :
  Shannon Pulley




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                                     557
                                                                           8/29/18


  To w hom i
           tm ay concern:
       lam writing thisIetterin regardsto MontezAllen.Ihave known ''Tez''forapproximately four
  years. Ihave workèd with his motherforthatperiod and during thattime methim.He would com e by
  oftento see hïsmotherand Iwould havetheopportunityto interactwithhim.Hehasal
                                                                             w aysbeenveW
  respectfuland ratherquietwhen Iwasaround.He hasasweetpersonality and lsay thatbecause Ihave
  noticed the attention hegiveshismother,the way he presentshimself,the Way he would speakto
  otherswith care and respect.Iknow thatfamily isim portantto him and he wasveryexcited aboutthe
  birth ofhis newborn son. Ihave alwaysviewed him asa person thatwith the rightopportunitiescould
  be a successin w hathe focused on.


                                                                     Sincerely,
                                                                    JanetFrancis
                                                                                   NM K




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                                     558
     29 August,2018




     To W hom ItM ay Concern:


     M y nam e isLaTonia StraderIam a ResearchSpecialistforDuke Hospitalin Durham,NC.Ihave adopted
     M ontezAllen asm y nephew since he wasa Ii
                                              ttle boy.
     Ihave know n M ontezAllen practicallyalIis Iife.He isthe s
                                                              'on ofmy bestfriend w hom isIike a nephew to
     m e.lhave watched thisyoung mangrow up into a frsendly,respectfuland confidentyou m an.
     Growing up to thew ise young man he istoday,he hasbeen nothing buta hard workingyoung m anto
     help hissingle m otherand siblings.M ontezhasalways been a respectfulyoung man,he hascontributed
     histim e by working in the church and being a m oralsupportto hismother.
     Iam veryaware ofthe chargeshe hasto face,butIexpresstoyou M ontezAllen i    sa trusting,dignified
     young m an.M ontezis new fatherand hischild and fam ily needshim .So Iaskthatyou please use your
     bestjudgment,butmakeitpossiblethatMontezcanreturnto hisfamilyassoonaspossible.


     Than
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         kzyou foryourtime,              ,

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j. ega s,

     LaT9 iaStrader
     ClinicalResearch Specialist,Sr.
         Duke ClinicalResearch Unit
         Duke ClinicalResearch Institute
     40 M edicine Circle,Room 2579 W hite Zone
         Durham ,NC 27710
     Office:919-668-2261
         Latonia.strader@ dm .duke.edu




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                                     559
Sherry Allen

From :                       Stephen Nibl ett<sdniblettz4@ gmail.com>
Sent:                        Tuesday,August28,2018 3:04 PM
To:                          Sherry Allen
Subject:                     CharacterLetter


Towhom itm ay concem :

M y nam e isStephen N iblettand im ayouth leaderand UnitedHolinessChurch.1haveknown M ontezAllen
sincehewasbom .The M ontez Allen iknow isa greatyoungm an.Heattended chtlrch regularly.Iworked
closely with llim atthe church in m any youth activities.Healw ayshasbeen respectableand shown otherpeople
and adultsrespect.Ihavenotknown M ontezto getin any trouble and wasone ofourpromising youthsatthe
church.1'm writingthisletterinregardstoprovethatheisagreatyounjmanandifgiventhechancehecan
continueto show thathe can beeven abetteryoung man.Pleasetakethlsletterin to consideration to help in
releasinghim to continuethegood work also bea greatfather.


Thank you

STEPH EN D .N IBLETT




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